     Barry W. Davidson (WSBA No. 07908)                           HONORABLE WHITMAN L. HOLT
     Bruce K. Medeiros (WSBA No. 16380)
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     1550 Bank of America Financial Center
     601 West Riverside Avenue
 1
     Spokane, Washington 99201
     Telephone: (509) 624-4600
 2   Facsimile: (509) 623-1660
     Email:     bdavidson@dbm-law.net
 3
                bmedeiros@dbm-law.net
 4
     Attorneys for Cerner Corporation
 5
                              UNITED STATES BANKRUPTCY COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
     In re. . .                                             Jointly Administered Under:
 8                                                          Lead Case No. 19-01189-WLH11
     ASTRIA HEALTH, et al.,                                 Chapter 11
 9

10        Debtors and Debtors in Possession. 1              CERNER CORPORATION’S
                                                            MOTION FOR ADMISSION PRO
11
                                                            HAC VICE OF PATRICK FANNING
12

13
                Pursuant to Rule 83.2(c) of the Local Rules for the District Court for the Eastern
14
     District of Washington and Rule 9010(a)(3) of the Local Rules for the Bankruptcy Court for
15

16   the Eastern District of Washington, Bruce K. Medeiros, a member in good standing of the
17
     Washington State Bar and of the United States District Court for the Eastern District of
18
     Washington, files this motion on behalf of Cerner Corporation for the admission pro hac
19

20   vice of Patrick Fanning in the above captioned proceeding, based upon the following:

21
     1
          The Debtors and their respective case numbers are as follows: Astria Health (19-01189-11);
22
          Glacier Canyon, LLC (19-01193-11); Kitchen and Bath Furnishings, LLC (19-01194-11),
23        Oxbow Summit, LLC (19-01195-11); SHC Holdco, LLC (19-01196-11); SHC Medical Center-
          Toppenish (19-01190-11); SHC Medical Center-Yakima (19-01192-11); Sunnyside Community
24        Hospital Association (19-01191-11); Sunnyside Community Hospital Home Medical Supply,
          LLC (19-01197-11); Sunnyside Home Health (19-01198-11), Sunnyside Professional Services,
25
          LLC (19-01199-11); Yakima Home Care Holdings, LLC (19-01201-11); and Yakima HMA
          Home Health, LLC (19-01200-11).



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     Pleadings/Astria.svr

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 1              1.          Applicant’s business address, phone number, and email:
 2
                                  Patrick Fanning
 3                                PEAK LITIGATION LLP
 4
                                  4900 Main Street, Suite 160
                                  Kansas City, Missouri 64112
 5                                (816) 281-5405 (direct)
                                  pfanning@peaklitigation.com
 6

 7              2.          Dates of admission to practice before other courts:
 8
                COURT:                                                ADMISSION YEAR:
 9
                State of Missouri                                     1998
10
                U.S. District Court for the Western District of       1998
11              Missouri
12              State of Kansas                                       1999
13              U.S. District Court for the District of Kansas        1999
14              U.S. Courts of Appeals for the Eighth Circuit         2001
15              U.S. Courts of Appeals for the Sixth Circuit          2008
16              U.S. Courts of Appeals for the Second Circuit         2018
17
                3.          Name, address, phone number, and email of admitted counsel with whom the
18

19
     applicant will be associated:

20                                Bruce K. Medeiros
21
                                  DAVIDSON BACKMAN MEDEIROS PLLC
                                  1550 Bank of America Financial Center
22                                601 West Riverside Avenue
                                  Spokane, Washington 99201
23
                                  (509) 624-4600
24                                bmedeiros@dbm-law.net
25




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 1              4.          The requested admission and appearance by the applicant: Patrick Fanning is
 2
     necessary because he has an established attorney-client relationship with Cerner
 3
     Corporation, and is experienced in representing the interests of Cerner Corporation in
 4

 5   commercial litigation and transactions. Cerner Corporation has retained Patrick Fanning as
 6
     counsel in this case, and as counsel in any related cases, proceedings, and appeals. The
 7
     applicant seeks admission pro hac vice to enable the applicant to represent Cerner
 8

 9   Corporation in this case, and to represent Cerner Corporation in any related cases,
10
     proceedings, and appeals.
11
                5.          The applicant has no pending disciplinary or sanction actions and has never
12

13   been subject to any disciplinary sanctions by any court or bar association.

14              6.          The required filing fee of $200.00 has been paid or is tendered herewith
15
     pursuant to Local Bankruptcy Rule 9010-1 and Rule 83.2(c) of the Local Rules for the
16

17
     District Court for the Eastern District of Washington.

18              Based upon the foregoing, the undersigned respectfully requests the entry of an Order
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     admitting Mr. Patrick Fanning to appear pro hac vice as counsel for Cerner Corporation in
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     this case, and as counsel in any related cases, proceedings and appeals.
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 1              DATED this 3rd day of December 2020.
 2
                                         DAVIDSON BACKMAN MEDEIROS PLLC
 3

 4
                                           /s/ Bruce K. Medeiros
                                         Barry W. Davidson, WSBA No. 07908
 5                                       Bruce K. Medeiros, WSBA No. 16380
                                         1550 Bank of America Financial Center
 6
                                         601 West Riverside Avenue
 7                                       Spokane, Washington 99201
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                                         Facsimile:      (509) 623-1660
 9                                       Email:          bdavidson@dbm-law.net
                                                         bmedeiros@dbm-law.net
10

11                                       Attorneys for Cerner Corporation

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